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 UNITED SATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------X
 UNITED STATES OF AMERICA
 V.                                                       09-CR-466-(BMC) (S5)
 ISMAEL ZAMBADA GARCIA,

 DEFENDANT
 -----------------------------------------------X


                                       NOTICE OF APPEARANCE
         I wish to enter my appearance as co-counsel for the above-named defendant in this cause.

 I understand that it is my duty to continue to represent the named defendant in connection with

 all matters relating to this cause, and in connection with all proceedings therein in this Court;

 unless and until, after written motion filed by me, I am relieved by the Order of the Court.

 DATED: January 16, 2025

                                                          Respectfully submitted,

                                                          /s/Clark Birdsall_____________
                                                          Clark Birdsall
                                                          State Bar No. 02333500
                                                          9110 Scyene Rd.
                                                          Dallas, Texas 75227
                                                          Telephone (214) 828-9911
                                                          Facsimile (214) 828-2104
                                                          Email: clarkbirds@aol.com

                                                     ATTORNEY FOR DEFENDANT




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 16th day of January 2025 the foregoing Notice of Appearance

 was filed electronically with the clerk of the United States District Court for the Eastern District

 of New York to be served by operation of the Court’s electronic filing system upon the Assistant

 United States Attorney and all other counsel.

                                                 /s/ Clark Birdsall______________
                                                 Clark Birdsall




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